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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA

v.                                  No. 4:11CR00156-07 JLH

JUANA PATRICIA BAMAC-PEREZ

                                             ORDER

       Juana Patricia Bamac-Perez has filed a motion under 28 U.S.C. § 2255 to vacate, set aside,

or correct her sentence, and the United States has responded. If Bamac-Perez wishes to file a reply,

she must do so on or before June 10, 2013.

       IT IS SO ORDERED this 21st day of May, 2013.




                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE
